






Opinion issued April 24, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-08-00072-CV






LARRY WELENC, Appellant


V.


ARTURO MICHEL (CITY ATTORNEY), Appellee






On Appeal from the 80th District Court

Harris County, Texas

Trial Court Cause No. 2007-24923






MEMORANDUM OPINION	Appellant Larry Welenc has neither established indigence, nor paid or made
arrangements to pay the clerk's fee for preparing the clerk's record.  See Tex. R. App.
P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing dismissal
of appeal if no clerk's record filed due to appellant's fault).  After being notified that
this appeal was subject to dismissal, appellant Larry Welenc did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk's fee.  All pending motions are denied.


PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


